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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,
                                                           CASE NO. 2:21-mj-627
        v.

 JOHN J. KOTCHKOSKI,                                       MAGISTRATE JUDGE DEAVERS

                Defendant.


                                              ORDER

       For the reasons set forth in the parties’ joint motion, the Court finds that there is good cause

to grant an extension of time in which to return an Indictment or file an Information, that the

extension would best serve the interests of justice, and that the time is excludable pursuant to 18

U.S.C. § 3161(h)(7)(A). Accordingly, the Court GRANTS an extension until January 31, 2022,

to return an Indictment or Information pursuant to 18 U.S.C. § 3161(b).

       IT IS SO ORDERED.


Date: December 27, 2021                       s/Elizabeth A. Preston Deavers
                                              ELIZABETH A. PRESTON DEAVERS
                                              UNITED STATES MAGISTRATE JUDGE
